                                                                       FILED IN OPEN COURT
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                                                                          Pet r A. oore, Jr.1 Clerk
                                                                          US District Court
                    UNITED STATES DISTRICT COURT                          Eastern District of NC

             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                        NO. 5:23-CR-241-BO-RN-2
                        NO. 6:23--ce--~ 1::£o---QtJ--lo
                             No. &:2zJM?#2q, -eo-e.J-i

UNITED STATES OF AMERICA                )
                                        )
V.                                      )            SUPERSEDING
                                        )            INDICTMENT
LUIS MARTINEZ                           )
ELIAB LEMUEL CARRILLO SIDA              )
JOSUE JACOB CARRILLO SIDA               )

      The Grand Jury charges that:

                                    COUNT ONE

      From on or about January 27, 2023, and continuing until on or about February

4, 2023, within the Eastern District of North Carolina and elsewhere, LUIS

MARTINEZ, defendant herein, and others known and unknown to the Grand Jury,

did knowingly and unlawfully combine, conspire, agree and confederate with each

other to commit offenses against the United States, to wit: in connection with the

acquisition of firearms from licensed dealers of firearms within the meaning of

Chapter 44, Title 18, United States Code, knowingly made false and fictitious

statements, oral and written, which statements were intended and likely to deceive,

as to a fact material to the lawfulness of such sale of the firearms to. the defendants

under Chapter 44 of Title 18, in that the defendants did execute a Department of

Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosives Form 4473, Firearms

Transaction Record, to the effect that that they were the actual transferee or buyer


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of the firearms indicated on the Form 4473, when in fact as the defendants then knew,

they were not the actual transferee or buyer of the firearms, in violation of Title 18,

United States Code, Sections 922(a)(6) and 924(a)(2).

                             Object of the Conspiracy

      The objective of the conspiracy was to illegally obtain firearms by knowingly

and unlawfully making false and fictitious statements that were intended to deceive

federal firearms dealers, when in fact they were not the actual transferee or buyer of

the firearms, in violation of Title 18, United States Code, Sections 922(a)(6) and

924(a)(2).

                     Manner and Means of the Conspiracy

      The object of the conspiracy was accomplished by others known to the Grand

Jury, purchasing firearms, completing the required Forms 4473 Firearms

Transaction Record (hereinafter Form[s] 4473) certifying that the firearms were not

being "acquir[ed] ... on behalf of another person," and thereafter transferring the

purchased firearms to LUIS MARTINEZ and other persons known and unknown to

the Grand Jury in exchange for cash payment.

                                     Overt Acts

      In furtherance of the conspiracy and to effect the object of the conspiracy, the

defendants and persons known to the Grand Jury and persons unknown and known

to the Grand Jury, did commit, among others, the following overt acts:

   1. On or about January 27, 2023, a person known to the Grand Jury, purchased

      a ROMAR/CUGIR, Model WASR-20, 7 .62x39 caliber rifle, from Guns Plus Too,



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   a federal firearms licensee. A person known to the Grand Jury, signed a Form

   4473 certifying that he was the "actual transferee/buyer" of the firearm. A

   person known to the Grand Jury, thereafter, transferred the firearm to LUIS

   MARTINEZ.

2. On or about January 28, 2023, a person known to the Grand Jury, purchased

   a Riley Defense Model RAK-47, 7.62x39 caliber rifle, from Jim's Guns Jobbery,

   a federal firearms licensee. A person known to the Grand Jury, signed a Form

   4473 certifying that he was the "actual transferee/buyer" of the firearm. A

   person known to the Grand Jury, thereafter, transferred the firearm to LUIS

   MARTINEZ.

3. On or about January 30, 2023, a person known to the Grand Jury, purchased

   three Riley Defense RAK47, 7.62x39 caliber rifles from Fuquay Gun and Gold,

   a federal firearms licensee. A person known to the Grand Jury, signed a Form

   4473 certifying that he was the "actual transferee/buyer" of the firearm. A

  person known to the Grand Jury, thereafter, transferred the firearm to LUIS

  MARTINEZ.

4. On or about February 2, 2023, a person known to the Grand Jury, purchased

  five firearms, a Pinor Arms, Model Sporter, 5.56 caliber rifle; a Century Arms,

  Model WASR-10, 7.62x39 caliber rifle; a Zastava, Model ZPAP M70, 7.62x39

  caliber rifle; a Century Arms, Model Viska, 7.62x39 caliber rifle, and a

   ROMAR/CUGIR, Model-IO, 7.63x39 caliber rifle from Guns Plus, a federal

  firearms licensee. A person known to the Grand Jury, signed a Form 4473



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   certifying that he was the "actual transferee/buyer" of the firearm. A person

   known to the Grand Jury, thereafter, transferred the firearm to LUIS

   MARTINEZ.

5. On or about February 4, 2023, a person known to the Grand Jury, purchased

   three firearms, a Pioneer Arms, Model POL-AK-S-CT-W, 7.62 caliber rifle, a

   Riley Defense Model RAK47-P, 7.62 caliber rifle, and a Riley Defense RAK47L-

   SF, 7 .62x39 caliber rifle; from Proven Arms and Outfitters, a federal firearms

   licensee. A person known to the Grand Jury, signed a Form 4473 certifying

   that he was the "actual transferee/buyer" of the firearm. A person known to

   the Grand Jury, thereafter, transferred the firearm to LUIS MARTINEZ and

   others known and unknown to the Grand Jury.

6. On or about February 4, 2023, a person known to the Grand Jury, purchased

   two Riley Defense RAK47, 7.62x39 caliber rifles from Jim's Gun Jobbery, a

   federal firearms licensee. A person known to the Grand Jury, signed a Form

   4473 certifying that he was the "actual transferee/buyer" of the firearm. A

  person known to the Grand Jury, thereafter, transferred the firearm to LUIS

  MARTINEZ.

7. On or about February 7, 2023, a person known to the Grand Jury, purchased

   an FNH USA, Model M249S, 5.56 caliber rifle from Guns Plus, a federal

  firearms licensee. A person known to the Grand Jury, signed a Form 4473

  certifying that he was the "actual transferee/buyer" of the firearm. A person




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       known to the Grand Jury thereafter transferred the firearm to LUIS

       MARTINEZ and others known and unknown to the Grand Jury.

All in violation of the provisions of Title 18, United States Code, Section 371.



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       From on or about January 28, 2023, until on or about February 7, 2023, in the

Eastern District of North Carolina, LUIS MARTINEZ and persons known to the

Grand Jury, aiding and abetting each other, did knowingly purchase firearms and

conspire to purchase firearms, in and affecting interstate and foreign commerce, for,

on behalf of, or at the request of LUIS MARTINEZ, knowing or having reasonable

cause to believe that LUIS MARTINEZ was an alien illegally and unlawfully in the

United States, in violation of Title 18, United States Code, Sections 932(b)(l) and 2.


                                    COUNT THREE

      Between on or about January 27, 2023 and February 19, 2023, in the Eastern

District of North Carolina and elsewhere, the defendants, LUIS MARTINEZ, ELIAB

LEMUEL CARRILLO SIDA, and JOSUE JACOB CARRILLO SIDA, did knowingly

conspire and agree with persons known and unknown to the Grand Jury, to ship,

transport, transfer, cause to be transported, or otherwise disposed of one or more

firearms to another person, in and affecting interstate and foreign commerce,

knowing and having reasonable cause to believe that the use, carrying, and

possession of a firearm by the recipient would constitute a felony (as defined in section

932(a)), in violation of Title 18, United States Code, Sections 933(a)(l), (a)(3), and (b).

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                                   COUNT FOUR

       On or about February 19, 2023, in the Eastern District of North Carolina and

elsewhere, the defendants LUIS MARTINEZ, ELIAB LEMUEL CARRILLO SIDA,
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and JOSUE JACOB CARRILLO SIDA, and a person known to the lJflited Stat-es; ~

aiding and abetting each other, did fraudulently and knowingly export and send and

attempt to export and send from the United States to Mexico, merchandise, articles

and objects contrary to any law or regulation of the United States, that is: firearms,

magazines, and ammunition belts, contrary to the laws and regulations of the United

States, to wit: Title 50, United States Code, Section 4819; Title 15, Code of Federal

Regulations, Part 774; Title 15, Code of Federal Regulations, Part 738; Title 22, Code

of Federal Regulations, Parts 120-130, in violation of Title 18, United States Code,

Sections 554(a) and 2.

                                    COUNT FIVE


      Beginning on a date unknown to the Grand Jury, but no later than in or about

January 2023 and continuing thereafter up to and including in or about May of 2023,

in the Eastern District of North Carolina and elsewhere, the defendants, LUIS

MARTINEZ, ELIAB LEMUEL CARRILLO SIDA, and JOSUE JACOB CARRILLO

SIDA, and persons known to the Grand Jury did knowingly combine, conspire,

confederate, agree and have a tacit understanding with one another, and other

persons known and unknown to the Grand Jury, to commit certain offenses under

Title 18, United States Code, Section 1956, that is, to knowingly: transport, transmit,

and transfer, and attempt to transport, transmit, and transfer funds and a monetary

instrument, that is, United States currency, from a place in Mexico to and through a


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place inside the United States, with the intent to promote the carrying on of a

specified unlawful activity, that is, the felonious exportation of articles and objects

contrary to the laws and regulations of the United States, in violation of Title 18,

United States Code, Section 1956(a)(2)(A). All in violation of Title 18, United States

Code, Section 1956(h).

                                     COUNT SIX

        On or about May 24, 2023, in the Eastern District of North Carolina, the

defendant, LUIS MARTINEZ, knowing he was an alien illegally and unlawfully in

the United States, knowingly possessed a firearm, and the firearm was in and

affecting commerce violation of Title 18, United States Code, Sections 922(g) and

924.


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                                   FORFEITURE NOTICE

       Notice is hereby given that all right, title and interest in the property described

herein is subject to forfeiture.

       Upon conviction of any violation of the Gun Control Act, the National Firearms

Act, or any other offense charged herein that involved or was perpetrated in whole or

in part by the use of firearms or ammunition, the defendant shall forfeit to the United

States, pursuant to 18 U.S.C. § 924(d) and/or 26 U.S.C. § 5872, as made applicable by

28 U.S.C. § 2461(c), any and all firearms and ammunition that were involved in or

used in a knowing or willful commission of the offense, or that were intended to be

used in any offense identified in 18 U.S.C. § 924(d)(3), or, pursuant to 18 U.S.C.

§ 3665, that were found in the possession or under the immediate control of the

defendant at the time of arrest.

      The forfeitable property includes, but is not limited to, the following:

   1. Riley Defense, Model RAK 47, 7.62x39 caliber rifle, serial number B37888;

   2. Riley Defense, Model RAK 47, 7.62x39 caliber rifle, serial number B40025;

   3. Pioneer Arms, Model Sporter, 7.62x39 caliber rifle, serial number PAC1180792;

   4. ROMARM/CUGIR, Model WASR-10, 7.62x39 caliber rifle, serial number 22Al-93347;

   5. Century Arms, Model WASR-10, 7.62x39 caliber rifle, serial number 22A1956683;

   6. Century Arms, Model Vska, 7.63x39 caliber rifle, serial number SV7097536;

   7. Pioneer Arms, Model Sporter, 7.62x39 caliber rifle, serial number PAC1182325;

   8. Zastava, Model ZPAP M70, 7.62x39 caliber rifle, serial number Z70-148326;

   9. FN, Model M249S, 5.56 caliber rifle, serial number M249SA05981;

   10. Riley Defense, Model RAK 47, 7.62x39 caliber rifle, serial number B53416;


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   11. Riley Defense, Model RAK 47, 7.62x39 caliber rifle, serial number B52679;

   12. Riley Defense, Model RAK 47, 7.62x39 caliber rifle, serial number B51625;

   13. Riley Defense, Model RAK 47, 7.62x39 caliber rifle, serial number B53093;

   14. Riley Defense, Model RAK 47, 7.62x39 caliber rifle, serial number B53031;

   15. Riley Defense INC, Model: RAK47, 7.62x39 caliber rifle, serial number: B5261

   16. WASR, Model: ROA (model type obliterated), 7.62x39 caliber rifle, serial number: UF-

      5545 and

   17. Molot-Oruzhie LTD Model: Vepr-12 Melot, 12-gauge shotgun, serial number

      16VAO8943.

   And any and all associated ammunition.




                                                F R PERSON

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MICHAEL F. EASLEY, JR.
United States Attorney




 Y: JULIE A. CHILDRESS
Assistant United States Attorney




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